2 F.3d 1158
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Reginald Victor BIAS, Defendant-Appellant.
    No. 90-50248.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 21, 1993.*Decided Aug. 5, 1993.
    
      Before:  BROWNING, TANG, and NORRIS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Reginald Victor Bias appeals his conviction and sentence imposed following a bench trial for possession with intent to distribute and to manufacture phencyclidine in violation of 21 U.S.C. Sec. 841(a)(1).
    
    
      3
      Pursuant to Anders v. California, 386 U.S. 738 (1967), Bias' counsel submitted a brief stating that he finds no meritorious issues for review.  Counsel also filed a motion to withdraw as counsel of record.  Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.
    
    
      4
      The motion of counsel to withdraw is GRANTED and the judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    